Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 1 of 19




           EXHIBIT 51
Q&A with Louis Molina, the man who has just a few months to turn Rik...   https://gothamist.com/news/qa-with-louis-molina-the-man-who-has-just...
                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 2 of 19




2 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 3 of 19




3 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 4 of 19




4 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 5 of 19




5 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 6 of 19




6 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 7 of 19




7 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 8 of 19




8 of 19                                                                                                                     10/24/2022, 3:47 PM
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                         Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 9 of 19




9 of 19                                                                                                                     10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 10 of 19




10 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 11 of 19




11 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 12 of 19




12 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 13 of 19




13 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 14 of 19




14 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 15 of 19




15 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 16 of 19




16 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 17 of 19




17 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 18 of 19




18 of 19                                                                                                                    10/24/2022, 3:47 PM
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                        Case 1:21-cv-09012-DLC Document 41-51 Filed 10/24/22 Page 19 of 19




19 of 19                                                                                                                    10/24/2022, 3:47 PM
